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                                             March 24, 2025

VIA ECF
The Honorable Jessica G. L. Clarke
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

               Re:    United States v. Malvasio, et al., S1 23 Cr. 396 (JGLC)

Dear Judge Clarke:

        I represent Christopher Polk in the above referenced matter. The next conference in this
matter is currently scheduled for March 26, 2025. I write briefly to amend Mr. Polk’s previous
request to appear at the conference remotely, filed earlier today (Dkt. No. 89). By Assistant
United States Attorney Jaclyn Delligatti, the government consents to the request.
       We appreciate the Court’s time and attention to this matter.


                                                    Sincerely,



                                                   Michael D. Bradley
                                                  Attorney for Christopher Polk



Cc:    AUSA Jaclyn Delligatti
       AUSA Georgia V. Kostopoulos
       AUSA Peter John Davis
       (via ECF)
